       Case 1:24-cv-00617-TJK             Document 18-6          Filed 09/02/24       Page 1 of 2



                                                   10/18/2023



Michelle Doherty

156 Pierrepont Street

Brooklyn, New York 11201



RE:     ICE FOIA Case Number 2024-ICFO-01546



Dear Requester:



This acknowledges receipt of your 10/12/2023, Freedom of Information Act (FOIA) request to U.S.
Immigration and Customs Enforcement (ICE), for records pertaining to the unlawfully disclosed Mr.
Singh’s personally identiﬁable information (“PII”), and information related to his removal proceedings.
Your request was received in this oﬃce on 10/12/2023.



After careful review of your FOIA request, we determined that your request is 1) too broad in scope, 2)
did not speciﬁcally identify the records which you are seeking, or 3) only posed questions to the agency.
Records must be described in reasonably suﬃcient detail to enable government employees who are
familiar with the subject area to locate records without placing an unreasonable burden upon the
agency. For this reason, §5.3(b) of the DHS regulations, 6 C.F.R. Part 5, require that you describe the
records you are seeking with as much information as possible to ensure that our search can locate them
with a reasonable amount of eﬀort. Whenever possible, a request should include speciﬁc information
about each record sought, such as the date, title or name, author, recipients, and subject matter of the
records, if known, or the ICE program oﬃce you believe created and/or controls the record. The FOIA
does not require an agency to create new records, answer questions posed by requesters, or attempt to
interpret a request that does not identify speciﬁc records.



Please resubmit your request containing a reasonable description of the records you are seeking. Upon
receipt of a perfected request, you will be advised as to the status of your request.



If we do not hear from you within 30 days from the date of this letter, we will assume you are no longer
interested in this FOIA request, and the case will be administratively closed. Please be advised that this
action is not a denial of your request and will not preclude you from ﬁling other requests in the future. If
you have any questions please contact FOIA Public Liaison Fernando Pineiro Jr. at (866) 633-1182 or the
address above.
       Case 1:24-cv-00617-TJK         Document 18-6       Filed 09/02/24   Page 2 of 2




Your request has been assigned reference number 2024-ICFO-01546.




Sincerely,



ICE FOIA Oﬃce

Immigration and Customs Enforcement

Freedom of Information Act Oﬃce

500 12th Street, S.W., Stop 5009
